Case 2:20-cv-00732 Document 2

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA "RORY L- PERRY I, CLERK
Souther District of West Virginia

SEALED
Plaintiffs,
VS.

SEALED

Defendants.

Filed 11/09/20 Page 1 of 24 PagelD #: 55

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FILED UNDER SEAL PURSUANT TO
31 U.S.C. § 3730(b)(2)

CIVIL ACTIONNO. g:2c-Cyv-0132
COMPLAINT
JURY TRIAL DEMANDED

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA
ex rel. LIESA KYER,

FILED UNDER SEAL PURSUANT TO
Plaintiff-Relator, 31 U.S.C. § 3730(b)(2)

VS.
CIVIL ACTION NO. 2:20 - 0732
THOMAS HEALTH SYSTEM, INC.,
HERBERT J. THOMAS MEMORIAL
HOSPITAL ASSOCIATION (d/b/a/
THOMAS MEMORIAL HOSPITAL),
CHARLESTON HOSPITAL, INC. (d/b/a
ST. FRANCIS HOSPITAL),

THS PHYSICIANS PARTNERS, INC., and
BRIAN ULERY,

DO NOT PLACE IN PRESS BOX

Defendants.

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COMPLAINT AND DEMAND FOR JURY TRIAL

I. INTRODUCTION

1. Liesa Kyer (“Relator”), on her own behalf and in the name of the United States of
America, brings this civil action against Defendants Thomas Health System, Inc., Herbert J.
Thomas Memorial Hospital Association (d/b/a/ Thomas Memorial Hospital), Charleston Hospital,
Inc. (d/b/a/ St. Francis Hospital), THS Physicians Partners, Inc., and Brian Ulery under the gui tam
provisions of the False Claims Act, 31 U.S.C. §§ 3729-33 (“FCA”), seeking treble damages, civil
penalties, and other relief arising from Defendants’ violations of the Stark Law, 42 U.S.C. §
1395nn, and the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b) (prohibited conduct and criminal

penalties) and 42 U.S.C. § 1320a-7a(a)(7) (civil penalties).
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Z Since at least 2012, Defendants engaged in a successful scheme to pay improper
compensation to certain employed physicians to reward or induce them to refer patients, including
beneficiaries of federal health care programs, to Thomas Memorial and St. Francis hospitals.

3. Defendants paid certain employed physicians far in excess of the value of their
personal services, while the hospitals received substantial profits from inpatient and outpatient
referrals by these physicians. The compensation exceeded the fair market value of their eeisondl
services and was based on the physicians’ ability to generate referrals for the hospitals.

4, As detailed below, Defendants knowingly violated federal Stark and anti-kickback
laws and knowingly submitted or caused the submission of thousands of false claims to federal
health care programs, which claims arose through tainted referrals from employed physicians
receiving excessive payments from the hospitals.

Il. PARTIES AND ENTITIES

A. Relator

5. Relator Liesa Kyer has an extensive background in nursing, including working as
a nurse at Thomas Memorial for 13 years.

6. Relator brings this matter on behalf of the United States under the FCA. The United
States acts through its various agencies and departments, including the Department of Health and
Human Services (“HHS”), which administers Medicare through the Centers for Medicare and
Medicaid Services (“CMS”); the Department of Defense, which administers TRICARE through
the Defense Health Agency; and other relevant government payors.

B. Defendants

Le Thomas Health System, Inc. (“Thomas Health”) is a 501(c)(3) not-for-profit entity

that controls the three other entity defendants described below. With a total of 383 beds, Thomas
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Health has approximately 1,800 employees and an estimated 450 physicians, making it the 17th
largest private employer in West Virginia. Thomas Health is the sole member of both defendant
Herbert J. Thomas Memorial Hospital Association, d/b/a/ Thomas Memorial Hospital (“Thomas
Memorial”) and defendant Charleston Hospital, Inc., d/b/a/ St. Francis Hospital (“St. Francis”).
As the sole member of those entities, Thomas Health elects their respective board of directors and
has reserved all corporate powers, except for items specifically listed in each organization’s
articles of incorporation. As detailed below, the same persons hold the same top three executive
officer positions for Thomas Health and for the three affiliated entity defendants described below.

8. Herbert J. Thomas Memorial Hospital Association (d/b/a/ Thomas Memorial
Hospital) (“Thomas Memorial”) is a 501(c)(3) not-for-profit entity located at 4605 MacCorkle
Avenue, SW, South Charleston, West Virginia. Established in December 1946, Thomas Memorial
purchased defendant St. Francis in 2007 and created defendant Thomas Health as an umbrella
company to oversee both facilities. !

9, Charleston Hospital, Inc., d/b/a/ St. Francis Hospital (“St. Francis”) is a not-for-
profit company located at 333 Laidley Street, Charleston, West Virginia. St. Francis was purchased
by Thomas Memorial in 2007 and is overseen by Thomas Health.”

10... THS Physicians Partners, Inc. (“THSP”) is a West Virginia entity formed on
January 27, 2012, with its principle place of business at 4605 MacCorkle Avenue, SW, South

Charleston, West Virginia. THSP is a multi-specialty physician group and wholly-owned

| https://www.wvencyclopedia.org/articles/7 | 8#:~:text=Thomas%20Memorial%20Hospital
%20in%20South,of%20Honor%20for%20his%20heroism. (last visited Nov. 6, 2020).

* Id.; https://www.wvencyclopedia.org/articles/154# ‘~:text=Francis%20Hospital%20in%
20Charleston%20was,Sacred%20Heart%20Church%20in%20Charleston. (last visited Nov. 6,
2020).
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subsidiary of Thomas Health that consists of physicians and mid-level providers in the areas of
family medicine, internal medicine, general and oncological surgery, urology, and psychiatry.

11. Brian Ulery is an individual who resides in Charleston, West Virginia, and who for
the past several years has served as the Chief Operating Officer/Executive Vice President of all
four corporate defendants, i.e., Thomas Health, Thomas Memorial, St. Francis, and THSP.

Til. JURISDICTION AND VENUE

12. The Court has subject matter jurisdiction over the FCA claims alleged in this
complaint under 28 U.S.C, § 1331 (federal question) and the FCA itself at 31 U.S.C. § 3732(a).

13. The Court has personal jurisdiction over each defendant pursuant to 31 U.S.C.
§ 3732(a) because each defendant can be found, resides, or transacts business in this district.

14. Venue is proper in this district pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. §
1391 because each defendant can be found, resides, and transacts business in this district; an act
proscribed by 31 U.S.C. § 3729 occurred within this district; and a substantial part of the events
or omissions giving rise to the claims alleged in this complaint occurred in this district.

15. Relator is aware of no subject matter or other jurisdictional bars set forth in the
FCA that would be applicable to this action.

16. Relator is the “original source” of the allegations in this complaint as that term is
used in the FCA. During her tenure at Thomas Memorial, Relator acquired material, direct,
independent, and non-public knowledge of the information on which the allegations in this
complaint are based, and she voluntarily and in good faith disclosed this information to the United

States Attorney’s Office for the Southern District of West Virginia prior to filing this complaint.
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IV. THE FALSE CLAIMS ACT

17. | The FCA makes it unlawful for any person to submit, directly or indirectly, false
or fraudulent claims for payment to the Government. See 31 U.S.C. §§ 3729-33. Relator alleges
liability primarily under four of the FCA’s seven liability provisions.

18. First, the FCA’s “presentment” provision, 31 U.S.C. § 3729(a)(1)(A), imposes
liability when a defendant “knowingly presents, or causes to be presented, a false or fraudulent
claim for payment or approval.”

19. Second, the FCA’s “false records or statements” provision, 31 U.S.C. §
3729(a)(1)(B), imposes liability when a defendant “knowingly makes, uses, or causes to be made
or used, a false record or statement material to a false or fraudulent claim.”

20. Third, the FCA’s “conspiracy” provision, 31 U.S.C. § 3729(a)(1)(C), imposes
liability when a defendant “conspires to commit a violation of? the FCA’s other six provisions:
subparagraphs (A), (B), (D), (E), (F), or (G).

21. Fourth, the FCA’s “reverse false claims” provision, 31 U.S.C. § 3729(a)(1)(G),
imposes liability when a defendant “knowingly makes, uses, or causes to be made or used, a false
record or statement material to an obligation to pay or transmit money or property to the
Government, or knowingly conceals or knowingly and improperly avoids or decreases an
obligation to pay or transmit money or property to the Government.”

22. The FCA defines the terms “knowing” and “knowingly” as meaning that “a person
with respect to information—(i) has actual knowledge of the information; (ii) acts in deliberate
ignorance of the truth or falsity of the information” or (iii) acts in reckless disregard of the truth or
falsity of the information.” 31 U.S.C. § 3729 (b)(1). Proof of specific intent to defraud is not

required. Id.
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23. As relevant to this complaint, the FCA defines the term “claim” as follows:

any request or demand, whether under a contract or otherwise, for money or

property and whether or not the United States has title to the money or property,

that—{i) is presented to an officer employee, or agent of the United States; or (ii)

is made to a contractor, grantee, or other recipient, if the money or property is to be

spent or used on the Government’s behalf or to advance a Government program or

interest and if the United States Government (I) provides or has provided any

portion of the money or property requested or demanded; or (II) will reimburse

such contractor, grantee, or other recipient for any portion of the money or property

which is requested or demanded].]

31 U.S.C. § 3729(b)(2).

24, The term “obligation” under the FCA “means an established duty, whether or not
fixed, arising from an express or implied contractual, grantor-grantee, or licensor-licensee
relationship, from a fee-based or similar relationship, from statute or regulation, or from the
retention of any overpayment.” 31 U.S.C. § 3729(b)(3).

25. The FCA further states that “the term ‘material’ means having a natural tendency
to influence, or be capable of influencing, the payment or receipt of money or property.”? 31 U.S.C.
§ 3729(b)(4).

V. FEDERAL HEALTH CARE PROGRAMS
A. Medicare and Medicaid
1, Medicare
26. Medicare covers the costs of certain medical services for persons aged 65 years or

older and those with disabilities. Medicare is divided into four parts, two of which are relevant

here. Part A authorizes payment for institutional care, including hospital, skilled, nursing facility,

3 The Supreme Court reaffirmed the use of this objective natural tendency materiality test—even
as to subsection (a)(1)(A), which does not explicitly use the term—and described a holistic
approach to analyzing it. Universal Health Services, Inc. v. United States ex rel. Escobar, 136 S.
Ct. 1989, 1996 (2016).
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and home health care. See 42 U.S.C. §§ 1395c-1395i-4. Part B authorizes payment for outpatient
health care expenses, including physician fees. See 42 U.S.C. §§ 1395-1395w-4.

27. HHS is responsible for the overall administration and supervision of the Medicare
program, the direct administration of which is CMS’s responsibility. CMS makes Medicare
payments retrospectively to health care providers that are enrolled to participate in Medicare and
that submit claims for payment on behalf of Medicare beneficiaries.

2. Medicaid

28. Medicaid is a joint federal-state program that provides health care benefits
primarily for low-income individuals and families. Authorized under Title XIX of the Social
Security Act, Medicaid is administered by each state in compliance with federal requirements
under the Medicaid statute and regulations. See 66 Fed. Reg. 857 (“The States operate Medicaid
programs in accordance with Federal laws and regulations and with a State plan that we approve.”).
To qualify for federal funding under Medicaid, state programs must cover hospital and physician
services at a minimum. 42 U.S.C. § 1396a(10)(A), 42 U.S.C. § 1396d(a)(1)(2), (5).

29. Federal funding of state Medicaid programs is called federal financial participation
(“FFP”). The amount covered by federal funding is generally based on a formula reflecting the
state’s per capita income and ranges from 50% to 83% of the dollars spent by the state to provide
Medicaid services. The federal matching rate for the West Virginia Medicaid program is
approximately 75% percent. The Medicaid program in West Virginia is administered by the

Bureau for Medical Services in the Department of Health and Human Resources.
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3. Medicare and Medicaid Program Integrity Provisions

30. A person or entity that receives an overpayment of Medicare or Medicaid funds
must report and return the overpayment within 60 days of the date on which the overpayment was
identified. 42 U.S.C. § 1320a—7k(d)(1)+(2).

31. An “overpayment” is defined as “any funds that a person receives or retains under
[the Medicare and Medicaid statutes] to which the person, after applicable reconciliation, is not
entitled.” 42 U.S.C. § 1320a—7k(d)(4)(B).

B. TRICARE

32. Thomas Memorial, St. Riarieis, and THSP serviced patients whose bills were
submitted to TRICARE, a federally funded program that provides hospital services and other
medical benefits, to certain relatives of active duty, deceased, and retired service members or
reservists, as well as to retirees, TRICARE also may provide hospital services for active duty
patients at non-military facilities. 10 U.S.C. §§ 1071-1110; 32 C.F.R. § 199.4(a).

33. | TRICARE payments for hospital services is based, in part, on an entity’s Medicare
cost report. 32 C.F.R. § 199.14. In addition to individual patient costs, which use the same payment
system as Medicare, TRICARE pays hospitals for capital costs, direct medical education costs,
and outlier cases. Id.

VI. STARK AND ANTI-KICKBACK STATUTES

A. The Stark Law Prohibits Financial Relationships with Designated Health
Services Providers.

34. Recognizing the conflict of interest present when a physician refers a patient to a
medical facility in which he or she has a financial relationship, Congress enacted the Physician
Self-Referral Law, commonly referred to as the Stark Law. 42 U.S.C. § 1395nn. Designed to

eliminate monetary influences from physician referrals, the Stark Law prohibits providers from
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submitting, and the United States from paying, claims for designated health services (“DHS”)
prescribed by physicians who have a prohibited financial relationship with the DHS provider.*

35. The Stark Law applies to claims submitted to and paid by Medicare and Medicaid
(and federal payment of FFP to the States under the Medicaid program).

36. The Stark Law applies to the following DHSs: (A) clinical laboratory services; (B)
physical therapy services; (C) occupational therapy services; (D) radiology services, including
magnetic resonance imaging, computerized axial tomography scans, and ultrasound services; (E)
radiation therapy services and supplies; (F) durable medical equipment and supplies; (G)
parenteral and enteral nutrients, equipment, and supplies; (H) prosthetics, orthotics, and prosthetic
devices and supplies; (I) home health services; (J) outpatient prescription drugs; (K) inpatient and
outpatient hospital services; and (L) outpatient speech-language pathology services. See 42 U.S.C.
§ 1395nn(h)(6).

37. A prohibited financial relationship includes “compensation arrangements” in which
an entity providing DHS (including hospitals) directly or indirectly pays any “remuneration” to a
referring physician in exchange for referrals. 42 U.S.C. § 1395nn(a)(1), (a)(2)(B), (h)(I)(A); 42
C.F.R. § 411.354(c), “The term ‘remuneration’ includes any remuneration, directly or indirectly,
overtly or covertly, in cash or in kind.” 42 U.S.C. § 1395nn(h)(1)(B).

38. | The Stark Law provides that if a physician has a financial relationship with a
hospital or entity, then:

(A) The physician may not make a referral to the entity for the furnishing

of designated health services for which payment otherwise may be made
under this subchapter, and

* The Stark Law “was enacted to address over-utilization, anti-competitive behavior, and other
abuses of health care services that occur when physicians have financial relationships with
certain ancillary service entities to which they refer Medicare or Medicaid patients.” 69 Fed.
Reg. 16124 (March 26, 2004).

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(B) the entity may not present or cause to be presented a claim under this
subchapter or bill to any individual, third party payor, or other entity for
designated health services furnished pursuant to a referral prohibited under
subparagraph (A).

42 U.S.C. § 1395nn(a)(1).

39. The Stark Law prohibits Medicare and Medicaid from paying claims submitted in
violation of the Stark Law: “No payment may be made under this subchapter for a designated
health service which is provided in violation of subsection (a)(1) of this section.” 42 U.S.C.
§1395nn(g)(1).

40. | When a hospital violates the Stark Law and collects payment of prohibited claims,
it “must refund all collected amounts on a timely basis.” 42 C.F.R. § 411.353.

1. The Stark Law Broadly Defines “Referral.”

41. The Stark Law defines “referral” as “the request or establishment of a plan of care
by a physician which includes the provision of designated health services.” 42 U.S.C. §
1395nn(h)(5)(A).

42. A “referral” includes “a request by a physician that includes the provision of any
designated health service for which payment may be made under Medicare, the establishment of a
plan of care by a physician that includes the provision of such a designated health service, or the
certifying or recertifying of the need for such a designated health service...” 42 C.F.R § 411.351.
A referral also occurs when a physician “directs another person or entity to make a referral or who
controls referrals made to another person or entity.” Jd.

43. While the Stark Law contains broad prohibitions on financial relationships, it also
identifies a number of exceptions. If a Stark Law violation is established, the defendant has the

burden of showing that one of the exceptions apply.

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44, One exception is the existence of a “bona fide employment relationship” between
the physician and the employing entity. This exception is commonly invoked when a hospital hires
as “employees” physicians who refer Medicare and Medicaid patients to the hospital for DHS.

2. The “Bona Fide Employment Relationship” Exception to the Stark
Law Must Satisfy Four Primary Requirements.

45. A “bona fide employment relationship” consists of four requirements: (1) the
“employment is for identifiable services,” (2) “the amount of the remuneration under the
employment . . . is consistent with the fair market value of the services” personally provided by
the physician, (3) the remuneration “is not determined in a manner that takes into account (directly
or indirectly) the volume or value of any referrals by the referring physician,” and (4) “the
remuneration is provided pursuant to an agreement which would be commercially reasonable even
if no referrals were made to the employer.” 42 U.S.C. § 1395nn(e)(2).

46. The first requirement is self-explanatory: it must be clear what services are being
provided as a result of the financial relationship.

47. The second requirement limits compensation to fair market value defined as “the
value in arm’s length transactions, consistent with the general market value .. .” 42 U.S.C. §
1395nn(h)(3). This requirement contemplates payment to physicians based on their actual and
personal labor. 66 Fed. Reg. 876. Accordingly, a physician’s productivity “refers to the quantity
and intensity of a physician’s own work, but does not include the physician’s fruitfulness in
generating DHS performed by others . . .” Id. (emphasis added). Thus, the test is whether the
compensation reflects “fair market value for the work or service performed . . . not inflated to

compensate for the physician’s ability to generate other revenues.” 66 Fed. Reg. at 877.

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48. — The third requirement prohibits compensation “that takes into account (directly or
indirectly) the volume or value of any referrals by the referring physician.” 42 U.S.C. §
1395nn(e)(2). If physicians are paid “per service” or “per time period,” the “per service” amount
“must reflect fair market value at inception not taking into account the volume or value of referrals
and must not change over the term of the contract based on the volume or value of DHS referrals
...” 66 Fed. Reg, 878.

49. The fourth requirement reflected in 42 U.S.C. § 1395nn(e)(2)—that a physician’s
compensation must be “commercially reasonable even if no referrals were made to the
employer”— reflects that fair market value under the Stark Law is not achieved simply by the fact
the parties negotiated the employment relationship.

50. To provide “commercially reasonable” compensation means that the “arrangement
would make commercial sense if entered into by a reasonable entity of similar type and size and a
reasonable physician (or family member or group practice) of similar scope and specialty, even if
there were no potential DHS referrals.” 69 Fed. Reg. 16093 (emphasis added).

51. The centrality of excluding the ability to generate referrals from the negotiation of
fair market value is memorialized and made clear in the federal regulation defining the term:

Fair market value means the value in arm’s-length transactions, consistent
with the general market value. ‘General market value’ means the price that
an asset would bring as the result of bona fide bargaining between well-
informed buyers and sellers who are not otherwise in a position to
generate business for the other party, or the compensation that would be
included in a service agreement as the result of bona fide bargaining
between well-informed parties to the agreement who are not otherwise in

a position to generate business for the other party, on the date of
acquisition of the asset or at the time of the service agreement.

42 C.F.R. § 411.351 (emphasis added).

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B. The Anti-Kickback Statute Prohibits Paying for Referrals.

52. When a federal health care program provides payment, the Anti-Kickback Statute,
42 U.S.C. § 1320a-7b(b) (“AKS”), mandates paying individual health care providers based on the
fair market value of their services without taking into account whether and to what extent the
individual provider refers patients for services.

53. | The AKS achieves the above end by prohibiting an individual or entity from
offering or paying “any remuneration . . . directly or indirectly, overtly or covertly, in cash or in
kind to any person to induce such person to . . . refer an individual to a person for the furnishing
or arranging for the furnishing of any item or service for which payment may be made in whole or
in part under a Federal health care program.” 42 U.S.C. § 1320a-7b(b)(2).

54. | The AKS also imposes liability on those who solicit or receive remuneration in
exchange for referring program-related business. 42 U.S.C. § 1320a-7b(b)(1).

55. Because the AKS prohibits offering or soliciting illegal remuneration, liability may
occur without proof of payment.

56. Congress passed the AKS out of concern that providing financial incentives to
physicians based on volume of referrals would result in referrals that are medically unnecessary,
more costly than necessary, poor quality, or even harmful to a vulnerable patient population. This
concern was affirmed by studies showing that physicians were influenced by financial incentives
regardless of their intent to act in good faith.

57. Because monitoring every case for unnecessary procedures would be an impossible
task, and because of the importance of preventing improper influence in medical decisions,
Congress enacted the AKS as a per se prohibition against the payment of kickbacks in any form.

The AKS does not require proof of overutilization or poor quality of care. “If any one purpose of

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remuneration is to induce or reward referrals of Federal health care program business, the [AKS]
statute is violated.” 66 Fed. Reg. 919.

58. In 2010, Congress amended the AKS to state that any Medicare claim “that includes
items or services resulting from a violation of [the AKS] constitutes a false or fraudulent claim for
purposes of [the FCA].” 42 U.S.C. § 1320a-7b(g). Accordingly, compliance with the AKS is
material to CMS’s decision to pay a Medicare claim, and the knowing submission of an AKS-
tainted claim violates the FCA,

59. The AKS allows for some “safe harbors,” exempting certain practices from
liability, 42 U.S.C. § 1320a-7b(b)(3). HHS has promulgated regulations for these safe harbors,
identifying various circumstances when a financial relationship between a provider and a referral
source is acceptable under the AKS. 42 C.F.R. § 1001.952.

60. One of those safe harbors exempts payments to an individual who is working under
a “personal services and management contract.” To qualify for this safe harbor, the agreement
between an individual and another individual must be “set in advance, [must be] . .. consistent
with fair market value in arms-length transactions and [must] . . . not [be] determined in a manner
that takes into account the volume or value of any referrals or business otherwise generated
between the parties for which payment may be made in whole or in part under Medicare or a State
health care program.” 42 C.F.R. § 1001.952(d).

61. A violation of the AKS may subject the defendant to exclusion from participation
in federal health care programs, civil monetary penalties of $100,000 per violation, and three times
the amount of remuneration paid, regardless of whether any part of the remuneration is for a
legitimate purpose. 42 U.S.C. § 1320a-7a(a)(7) (civil penalties for violation of the acts proscribed

by 42 U.S.C. § 1320a-7b(b)).

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62. The Stark Law and the AKS are not mutually exclusive. They are characterized as
“complementary and although overlapping in some aspects, not redundant.” 66 Fed. Reg. 863.
“Congress only intended [the Stark laws] to establish a minimum threshold for acceptable financial
relationships, and that potentially abusive financial relationships that may be permitted under
Section 1877 of the Act could still be addressed through other statutes that address health care
fraud and abuse, including the antikickback statute (Section 1128B(b) of the Act).” 66 Fed. Reg.
860.

VII. DEFENDANTS’ FCA VIOLATIONS

A. Thomas Health, Thomas Memorial, St. Francis, and THSP Are Integrally
Connected.

63. Thomas Health System, Inc., is a non-profit corporation established in late 2006
initially to manage the operations of Thomas Memorial Hospital and St. Francis Hospital.

64. | Thomas Memorial and St. Francis hospitals are wholly-owned and controlled
subsidiaries of Thomas Health System. Thomas Memorial is a 178-bed general acute care hospital,
and St. Francis is a 155-bed general acute care hospital. Both hospitals are enrolled in Medicare
and Medicaid and are known to treat Medicare and Medicaid patients.

65. THSP, incorporated as a subsidiary of Thomas Health in January 2012, is a group
of physicians and mid-level providers in many different specialties that provide medical services
to Thomas Memorial and St. Francis. The NPI for THS Physician Partners, Inc., is 1871866806.

It is enrolled in both Medicare and Medicaid.

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66. Current Medicare records indicate that there are 71 clinicians affiliated with THS
Physician Partners, Inc.° These clinicians’ names typically appear in the online directory of
physicians for Thomas Memorial® and St. Francis,’ which link to the identical webpages when
clicking on “Find a Physician” and “Services.” The two hospital websites largely mirror each other
and are branded with the Thomas Health masthead.

67. Thomas Health, Thomas Memorial, and THSP all share a common address at 4605
MacCorkle Avenue SW, South Charleston, West Virginia, an address associated primarily with
Thomas Memorial.

68. This unity of executive officers is also evident on Thomas Health’s website,® where
its identification of “Thomas Health Administration” includes the following:

President and CEO: Daniel Lauffer
Executive Vice President and COO: Brian Ulery
CFO and Senior Vice President of Finance: Timothy Skeldon

The same persons are identified in the same roles as “Administration” on the website for Thomas
Memorial,’ which page is also the landing page for “Administration” from the St. Francis website.
69. | THSP does not have a website, but a search for “THS Physician Partners, Inc.”

brings up a website for Thomas Health System Physician Partners Orthoclinic.'°

* https://www.medicare.gov/care-compare/details/group-practice/95373 16393?id=54b60b88-
6977-49f3-bb07-4a75ba3 bd65d&city=South%20Charleston&state=W V (last visited Nov. 6,
2020).

° http://thomaswv.org/ through the tabs “Find a Doctor” and “Services” (last visited Nov. 6,
2020).

’ http://thomaswv.org/sfhclinics through the tabs “Find a Doctor” and “Services” (last visited
Nov. 6, 2020).

* https://thomashealth.org/thomas-health-administration/ (last visited Nov. 6, 2020).

* http://thomaswv.org/admin (last visited Nov. 6, 2020).

'° https://www.orthoclinic-thspp.com/thomas-health-system-physician-partners-orthoclinic-
physician-partners-orthoclinic-west-virginia.html (last visited Nov. 6, 2020).

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70. Nonprofit corporations such as Thomas Health, Thomas Memorial, St. Francis, and
THSP are required to file an IRS Form 990 annually. This form gives the IRS an overview of the
nonprofit’s activities and governance as well as detailed financial information. Among other
things, the Form 990 requires the nonprofit to list the names and salaries of its directors, trustees,
officers, and other key employees.

71. The fiscal year (“FY”) for Thomas Health, Thomas Memorial, St. Francis, and
THSP runs from October | of the starting year through September 30 of the following year.
Accordingly, FY 2016 would run from October 1, 2016 through September 30, 2017. Accordingly,
and for example, the entities used IRS Form 990 for 2016 for the time period from October 1, 2016
through September 30, 2017.'' However, other documents use the descriptive “Fiscal Year
Ending” (FYE 9/30/20[XX]) when reporting financial data. Hence, the time period October 1,
2015 through September 30, 2016 could be identified as both or either FY 2015 or FYE 9/30/2016,

72. As demonstrated in the following chart, the Form 990 filings for all four entities
show that the same persons typically hold the same top three officer positions across all four

entities and have also held board positions.

'l For purposes of this complaint, Relator identifies the Form 990s by the year indicated on the
form itself.

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Thomas Health Thomas Mem. St. Francis THS Physician
System, Inc Hospital Hospital. Partners, Inc
CEO/President Daniel Lauffer (990 Daniel Lauffer (990 | Daniel Lauffer (990
FY 2017, 2016, FY 2017, 2016, FY 2017, 2016,
2015, 2014) 2015, 2014) 2015, 2014, 2013,
Stephen Dexter (990 2012, 2011)
FY 2014, 2013,
2012)
Cooy’sr. VP/VP Brian Ulery (990 FY Brian Ulery (990 FY | Brian Ulery (990 FY | Nobody listed in FY
2017, 2016, 2015, 2017, 2016, 2015, 2017, 2016, 2015, 2017 Form 990
2014) 2014, 2013) 2014) Brian Ulery (990 FY
2016, 2015, 2014)
CFO/ Sr. VP Timothy Skeldon Timothy Skeldon Timothy Skeldon Timothy Skeldon
Finance/VP 7/24/17-- 7/24/17-- 7/24/17-- T/24/17--
Finance (990 FY 2017) (990 FY 2017) (990 FY 2017) (990 FY 2017)
Renee Cross -- Renee Cross -- | Renee Cross -- | Renee Cross --
T/N4/17 (990 T/N4/17 (990 FY W14/17 (990 FY TA4/17 (990 FY2017,
FY2017, 2016, 2017, 2016, 2015, 2017, 2016, 2015, 2016, 2015, 2014)
2015, 2014) 2014) 2014, 2013, 2012, | Charles Covert (990 FY
Charles Covert (FY Charles Covert (990 2011) 2013, 2012)
990 2013) FY 2014, 2013,
2012)
Trustee/Director Daniel Lauffer (990 | Brian Ulery (990 FY | Daniel Lauffer (990 FY
Positions held by FY 2013, 2012) 2017, 2016, 2015) 2017, 2016, 2015,
Key Officers 2014)
Stephen Dexter (990
FY 2013 2012)
Executive Louis Roe (990 FY
Director 2017, 2016, 2015,
2014, 2013)
David Roe (990 FY
2013, 2012)
Interim Executive Brian Ulery (990 FY
Director 2013, 2012)
73. In short, during the relevant period of time, all four entities have been

simultaneously controlled by defendant Brian Ulery as COO, as well as the persons variously

holding the CEO and CFO positions.

74. The Form 990s also indicate that Ulery’s compensation was paid by Thomas

Memorial in FYs 2013 through 2017.

'2 As noted in the Form 990s of Charleston Hospital Inc. d/b/a St. Francis Hospital. The Form
990s of Thomas Health System Inc. routinely list board members but only one or two officers.

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B. Defendants Buy Up Private Practices that Provide Referrals to Thomas
Memorial.

75. Relator Liesa Kyer worked at Thomas Memorial for 13 years, from 1996 to 2009,
first as an aide and then as a nurse. She has Masters degrees in both nursing and healthcare
administration and is an Associate Professor of Healthcare Management at BridgeValley
Community and Technical College, where she has taught since 2009.

76. Relator is married to Dr. Paul Dean Kyer who opened a general surgery private
practice (Dean Kyer M.D., P.L.L.C.) in late 2000. Relator manages the business side of her
husband’s practice.

77. Since opening his own practice, Dr. Kyer has maintained privileges at Thane
Memorial and two other hospitals.

78. | Thomas Memorial hired Ulery as Vice President of Physician Practices in 2013.

79. Not long after Ulery’s appointment, Relator became aware of talk among local
doctors who attended a meeting of the Kanawha Valley Medical Associates that Ulery had made
comments about buying up private practices in the area, stating words to the effect, “if we own
them, we own their referrals.”

80. Relator then became aware that Thomas Memorial was indeed buying up private
practices, which then became a part of THSP.

81. | One physician who was an early hire left THSP after a year or two because he
thought THSP was operating so much in the hole that the business could not be sustained.

82. About three years ago, Dr. Kyer had a conversation with Thomas Memorial CEO
Dan Lauffer about whether Dr. Kyer would continue taking calls for the Thomas Memorial
emergency room, for which he was not being paid. Lauffer told him that if he wanted to be paid,

the hospital would hire him, too. Dr. Kyer did not pursue the offer.

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83. After Dr. Kyer declined to sell his practice, Relator further learned through casual
conversations with physicians, surgeons, and other Thomas Memorial staff that Ulery had boasted
at board meetings words to the effect that he had bought up so many practices in the area that “it’s
okay if we don’t own every private practice, because we are going to own all of their referrals.”

84. Relator has observed the effect of Ulery’s boasts on her husband’s general surgery
practice. One family medicine physician, Dr. Paul Kuryla, had previously referred many patients
to Dr. Kyer, on average about six to ten a month. When Thomas Memorial purchased Dr. Kuryla’s
practice and became a part of THSP, his referrals to Dr. Kyer drastically declined after about a
year. Now, Dr. Kyer receives referrals of only a few of Dr. Kuryla’s patients, and they are typically
persons he has treated in the past.

85. Within the last two years, Dr. Kyer’s office received a notification from Thomas
Memorial that the hospital had its own referral center that disseminates referrals. Accordingly,
when the rare referral came to Dr. Kyer from Thomas Memorial, it was made on the Thomas
Memorial referral center form. This made it clear that Thomas Memorial was controlling and
tracking external referrals.

86. Suspicious of Ulery’s intentions, Relator further discovered that Ulery had
previously been involved in an FCA case involving Stark Law violations at Broward Health in
Broward County, Florida. The case alleged that Broward Health violated the FCA by engaging in
improper financial relationships with referring physicians. According to the complaint, after a
doctor was hired at Broward, the hospital tracked referrals in secret “Contribution Margin Reports”
and projected the value and volume of their anticipated referrals to calculate physician

compensation.

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87. | The complaint alleged that evidence of Stark Law violations was “deliberately
concealed” from the public, even though the hospital district is subject to Florida’s public records
laws. Ulery was alleged to have “touted” Contribution Margin Reports in private meetings and to
have confirmed they were “concealed and ‘not listed in our financials.’”

88. Ulery resigned as Broward Health’s Vice President of Physician Services and
Facilities Operations in 2011, just four months after HHS agents served a subpoena on Broward
Health seeking records of its business dealings with 27 physicians, including information about
compensation, hospital admissions, and referrals dating back to 2000.

89. Ulery joined Thomas Health in about September 2013, where he advocated
implementation of a business model similar to that of Broward Health.

90. | The FCA case against Broward Health settled in 2015 for $69.5 million.

Cc. Relator Discovers Evidence of Stark Law and AKS Violations.

1. Physician Overcompensation

91. | Having learned about Ulery’s history at Broward Health, and having heard his
boasting about buying practices and “owning” referrals in his position at Thomas Health, Relator
was concerned that Ulery would engage in similar illegal conduct in West Virginia.

92. Those concerns became a reality when Relator had occasion to review copies of
IRS Form 990s filed by the Thomas Health entities.

93. Besides the information identified above, the Form 990s also require the filing
entity to identify the names and salaries of the five current highest compensated employees who
are not officers, directors, trustees, or other key employees. Accordingly, each of the THSP Form
990s identifies five physician employees and their compensation. Schedule J to the Form 990

breaks compensation down into base compensation, bonus and incentive compensation, retirement

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and other deferred compensation, and non-taxable benefits. Relator had access to Schedule J’s for
FY 2014, 2015, 2016, and 2017. The 2014 and 2015 Form 990s indicated “0” bonus and incentive
compensation for the highest paid employees. Subsequent years (2016 and 2017) indicate that the
highest paid employees received base compensation, plus a bonus.

94. The salaries Relator observed on the THSP Form 990s were shocking—based on
her knowledge of the earnings that would be expected for physicians in that area, the amounts were
exceedingly high.

95. The tables below, derived from the THSP IRS Form 990s, show that several THS
physicians who service government-pay patients have salaries well in excess of the average
compensation for their specialties as provided in Medscape Physician Compensation Reports. ?
Schedule J to the Form 990s breaks down the top employee compensation into base compensation,
bonus and incentive compensation, retirement and other deferred compensation, and nontaxable
benefits. The tables below contain compensation amounts from the Form 990 Schedule J for the
applicable fiscal year. The last two categories, retirement and other deferred compensation and
nontaxable benefits, are combined as “Other Compensation” in the tables.

96. Dr. Narender Jogenpally, M.D. — Hematology/Oncology Specialist: Dr.
Jogenpally is currently listed in Thomas Memorial’s online directory and is affiliated with THSP.
His compensation as one of THSP’s five highest paid employees is reported on THSP Form 990s

as follows:

'5 Medscape performs an annual Physician Compensation Survey that is publicly available and
based on a survey of thousands of physicians (more than 17,000 in 2020). See https://www.
medscape.com/sites/public/physician-comp/2020#:~:text=The%20Medscape%20Physician%20
Compensation%20Report,tenth”o20year%20in%20a%20row (last visited Nov. 6, 2020)

Zs
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Physician | Fiscal Year Base + Bonus Other Total Medscape
Compensation Compensation Average for
Oncology
Specialists
Jogenpally 2017 $905,018 $38,487 $943,505 $363,000
(10/1/2017- | (Base: $651,670; (2018)
9/30/2018) | Bonus: $253,348)
Jogenpally 2016 $763,190 $34,240 $797,430 $330,000
(10/1/2016- | (Base: $652,775; (2017)
9/30/2017) | Bonus: $110,415)
$329,000
Jogenpally 2015 Base: $543,952 $29,678 $573,630 (2016)
(10/1/2015-
9/30/2016) $302,000
(2015)
97. Based on Medscape’s Physician Compensation Reports, Dr. Jogenpally’s

compensation ranged from about $276,000 to more than $576,000 above average during the period

from FY 2015 through FY 2017.

98.

Dr. Jogenpally is enrolled in Medicare and Medicaid. His approximate Medicare

reimbursements were as follows:

Medicare Jogenpally
Reimbursements
2012 $1,044,274.70
2013 $1,027,585.53
2014 $940,976.05
2015 $250,898.99
2016 $140,788.57
2017 $128,182.85

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